Court of Appeals
of the State of Georgia

                                                              ATLANTA, August 21, 2024

The Court of Appeals hereby passes the following order

A25D0019. RACQUEL SULLIVAN v. FLOYD SULLIVAN JR.


     Upon consideration of the Application for Discretionary Appeal, it is ordered that it be

hereby DENIED.


LC NUMBERS:

20A06293




                                      Court of Appeals of the State of Georgia
                                           Clerk's Office, Atlanta, August 21, 2024.

                                           I certify that the above is a true extract from the minutes
                                      of the Court of Appeals of Georgia.

                                           Witness my signature and the seal of said court hereto
                                      affixed the day and year last above written.

                                                                         , Clerk.
